






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00025-CR






Frankie Robinson, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. 2020153, HONORABLE MICHAEL J. MCCORMICK, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Frankie Robinson pleaded guilty to possessing cocaine with intent to
deliver, was adjudged guilty by the court, and was sentenced to twenty-one years in prison as called
for in a plea bargain.  The trial court certified appellant's right to appeal matters that were raised by
written motion and ruled on before trial.  See Tex. R. App. P. 25.2(a)(2)(A), (d). (1)  Notice of appeal
was signed and filed by appellant's retained counsel, Mr. Craig F. Sandling.  A reporter's record was
not requested.  Counsel has not responded to correspondence from this Court.

The appeal is abated.  The district court shall conduct a hearing to determine whether
appellant desires to prosecute this appeal, whether appellant is indigent, and, if he is not indigent,
whether retained counsel has abandoned this appeal.  See Tex. R. App. P. 37.3(a)(2), 38.8(b)(2).  The
court shall make appropriate findings and recommendations.  If appellant desires to prosecute this
appeal but is indigent, the court shall order the preparation of the reporter's record at no cost to
appellant and appoint substitute counsel who will effectively represent appellant on appeal.  A record
from this hearing, including copies of all findings and orders and a transcription of the court
reporter's notes, shall be forwarded to the Clerk of this Court for filing as a supplemental record no
later than July 29, 2005.



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Filed:   June 27, 2005

Do Not Publish
1.      	The trial court's docket sheet reflects that appellant's written motion to suppress was heard and
overruled approximately two weeks before trial.  One month after perfecting appeal, counsel filed
a motion asking the court for permission to appeal.  Such permission was not required, at least as to
the ruling on the motion to suppress and other pretrial matters.  The court signed an order denying
permission to appeal.  This order did not alter appellant's right of appeal pursuant to rule
25.2(a)(2)(A).


